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James Garretson (00:00):
Hello?

Jeff Johnson (00:03):
What are you doing?

James Garretson (00:04):
[inaudible 00:00:04] What's going on?

Jeff Johnson (00:06):
I just wanted to see if you'd heard anything. If anything had changed?

James Garretson (00:10):
About what?

Jeff Johnson (00:10):
About what? I don't know, global warming.

James Garretson (00:15):
[inaudible 00:00:15] I haven't heard anything. Have you?

Jeff Johnson (00:20):
I went and talked to them the other morning.

James Garretson (00:22):
Really, what'd they say?

Jeff Johnson (00:30):
They're not happy.

James Garretson (00:30):
What are they going to do?

Jeff Johnson (00:31):
I don't know. I'll tell you one thing. They're not happy with Matt.

James Garretson (00:36):
Really?

Jeff Johnson (00:43):
They want to talk to you for sure.

James Garretson (00:44):

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Who was it, the attorney's not happy with Matt?

Jeff Johnson (00:48):
Uh-uh (negative). Not even a little bit.

James Garretson (00:52):
Like why, what did they say?

Jeff Johnson (00:53):
Because of what I told them, which was-

James Garretson (00:58):
How long... were you over there for a while?

Jeff Johnson (01:00):
I sat down with two, three of his attorneys for two hours.

James Garretson (01:06):
Really?

Jeff Johnson (01:08):
[silence 00:01:08] Change of heart, basically. And what I knew about how the trial or how the
investigation was handled, and that I think that it was nothing more than a witch hunt. And that a lot of
the information they got was basically people were bargained with. That there was a whole lot of people
that ought to be in jail right next to him. I told him, I told the defenders about Jeff Lowe putting the price
on my head, Jeff Lowe asking for pictures of my daughter, all that. And they were just shocked.

James Garretson (01:49):
Yeah. Are you going to testify?

Jeff Johnson (01:52):
They said that they didn't think that I would need to testify. And it was really too late for that. But I
asked them before I left if the information I had given them was at all relevant. And they basically said
absolutely.

James Garretson (02:11):
Who's going to testify for Joe?

Jeff Johnson (02:14):
Who is?

James Garretson (02:15):
Yeah, does he have some people that are going to testify for him?


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Jeff Johnson (02:18):
I don't know. I've got a list of witnesses.

James Garretson (02:22):
Yeah, I know. On social media someone sent me a list today. At least if they're going to put my name up
on the damn, they don't spell it right.

Jeff Johnson (02:31):
Oh did they spell your name wrong? Well see that list came from me by from someone that was sitting
in the courtroom the day of jury selection. And I guess during jury selection somebody read out [silence
00:02:44] and they were writing, as fast as they could. There's one name that doesn't even have a last
name. There's one name that had three possible [silence 00:03:03]. It may not even be a complete list.
But-

James Garretson (03:16):
Hey, Jeff. Hey, I'm going to take Cash, we're at the park. Will you let me call you back here in a few?

Jeff Johnson (03:25):
Okay.

James Garretson (03:25):
All right. I'll talk to you in a little bit. Bye.




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